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 VIA ECF

 The Honorable Douglas E. Arpert
 United States District Court
 Clarkson S. Fisher Fed. Bldg. & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

        Re:     Par Pharm., Inc. et al. v. Sandoz Inc.,
                Civil Action No. 3:18-cv-14895-BRM-DEA

 Dear Judge Arpert:

         Our firm represents Plaintiffs Par Pharmaceutical, Inc., Par Sterile Products, LLC, and
 Endo Par Innovation Company, LLC (collectively, “Par”) in the above-captioned suit. We write
 to request an extension to several of the upcoming interim deadlines in this case, which will not
 affect the overall case schedule. In particular, Par requests that the Court extend the following
 case deadlines:

                       Event                         Present Deadline       Proposed New
                                                                            Deadline
  Par Disclosure of Asserted Claims and              May 9, 2019            May 29, 2019
  Infringement Contentions and Response to
  Invalidity Contentions (see L.Pat.R. 3.6(g)-(i))
  Exchange of Proposed Terms for                     May 23, 2019           June 10, 2019
  Constructions (see L.Pat.R. 4.1(a))
  Exchange of Preliminary Claim Constructions        June 13, 2019          June 24, 2019
  and Supporting Evidence, and thereafter meet-
  and-confer to narrow the issues (see
  L.Pat.R. 4.2(a))
  Parties Exchange Intrinsic and Extrinsic           June 27, 2019          July 8, 2019
  Evidence to Oppose Other Party’s Claim
  Constructions, and thereafter meet-and-confer to
  narrow the issues (see L.Pat.R. 4.2(b))
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      No subsequent dates need be changed, including without limitation the date for the
 Markman hearing or final pretrial conference.

         The reason for the request is that our team has multiple trial commitments in the coming
 weeks that will interfere with our ability to timely meet the existing deadline for disclosure of
 Par’s responsive infringement and validity contentions. The other deadlines in the chart above
 are extended to accommodate the extension of that deadline without impacting subsequent case
 deadlines. We have conferred with counsel for Defendant Sandoz, Inc. and they consent to the
 requested extensions.

         If the requested extension meets with Your Honor’s approval, we respectfully request
 that you indicate by signing “So Ordered” on this letter as indicated below. We are available to
 discuss the request at Your Honor’s convenience should you have any questions or concerns
 about it.


                                               Respectfully submitted,

                                               /s/ Brian M. Goldberg

                                               Brian M. Goldberg

 cc:    All Counsel of Record (via ECF and e-mail)



 So Ordered:


                                      Dated:
 Hon. Douglas E. Arpert
